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   IT IS ORDERED as set forth below:



   Date: January 3, 2020
                                                          _____________________________________
                                                                        Paul Baisier
                                                                U.S. Bankruptcy Court Judge

  _______________________________________________________________



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                        :       CHAPTER 7
                                              :
RHANDI DANELL THOMAS,                         :       CASE NO. 16-54216-PMB
                                              :
         Debtor.                              :
                                              :

   ORDER GRANTING TRUSTEE'S MOTION FOR AUTHORITY TO PAY SECURED
   CLAIM OF SPECIAL COUNSEL AND TO PAY DEBTOR’S CLAIMED EXEMPTION

         This matter is before the Court on the Trustee's Motion For Authority To Pay Secured Claim

Of Special Counsel And To Pay Debtor’s Claimed Exemption [Doc No. 52] (the "Motion"), in

which S. Gregory Hays, as Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate of Rhandi

Danell Thomas (“Ms. Thomas” or “Debtor”), sought an order authorizing Trustee to pay certain

estate funds in the amount of $42,617.56 to Carl E. Douglas of Douglas/Hicks Law, APC and

Antablin & Bruce, ALP (collectively, “Special Counsel”) for the attorney’s lien that was generated

through their representation of Ms. Thomas prior to the bankruptcy case in certain claims arising out




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of the beating death of Darren Burley on August 3, 2012 (“Incident”) and to pay Ms. Thomas’s

Allowed Exemption in any recovery from the same.1

         On December 2, 2019, Trustee filed Notice of Pleading, Deadline to Object, and for

Hearing [Doc. No. 56] (the “Notice”) regarding the Motion, in accordance with General Order

No. 24-2018. Counsel for Trustee certifies that he served the Notice on all requisite parties in

interest on December 2, 2019. [Doc. No. 57].

         The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Motion was filed prior to the

objection deadline provided in the Notice.

         The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion, and, based on the forgoing, finding that no

further notice or hearing is necessary; and, the Court having found that good cause exists to grant

the relief requested in the Motion, it is hereby

         ORDERED that the Motion is GRANTED: Trustee is authorized to pay $42,617.56 to

Special Counsel for its secured claim, and Trustee is authorized to pay $11,098.00 to Ms.

Thomas for her Allowed Exemption.

                                          [END OF DOCUMENT]




1
         Capitalized terms not defined in this Order shall have the meanings ascribed to them in the Motion.


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Prepared and submitted by:

ARNALL GOLDEN GREGORY LLP

By:/s/ Michael J. Bargar
Michael J. Bargar
GA Bar No. 645709

171 17th Street, N.W., Suite 2100
Atlanta, GA 30363-1031
404.870.7030
michael.bargar@agg.com
Attorneys for Trustee

DISTRIBUTION LIST

Office of the United States Trustee               Rhandi Danell Thomas
362 Richard B. Russell Building                   2678 Rambling Way
75 Ted Turner Drive, SW                           Lithonia, GA 30058
Atlanta, GA 30303
                                                  Jonathan A. Proctor
S. Gregory Hays                                   The Semrad Law Firm, LLC
Hays Financial Consulting, LLC                    Sterling Point II
Suite 555                                         303 Perimeter Center North
2964 Peachtree Road                               Suite 201
Atlanta, GA 30305                                 Atlanta, GA 30346

Michael J. Bargar                                 Carl E. Douglas
Arnall Golden Gregory LLP                         Douglas/Hicks Law
171 17th Street, N.W.                             5120 W Goldleaf Circle
Suite 2100                                        Ste. 140
Atlanta, GA 30363-1031                            Los Angeles, CA 90056

                                                  Antablin & Bruce, ALP
                                                  6300 Wilshire Blvd.
                                                  Ste. 840
                                                  Los Angeles, CA 90048




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